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                         Exhibit C
               Redlined Edits to SVF
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                                          JANUARY 3, 2018.29, 2018 [Waymo Proposed Version].


                                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE NORTHERN DISTRICT OF CALIFORNIA


WAYMO LLC,                                                       No. C 17-00939 WHA

                    Plaintiff,
v.

UBER TECHNOLOGIES, INC.,
and OTTOMOTTO LLC,                                           SPECIAL VERDICT FORM
                                                                  [PROPOSED]
                    Defendants.
                                                 /




          In answering this special verdict form, please refer to the AllegedClaimed Trade Secrets as

defined and numbered in Trial Exhibit _____. Your answers must be unanimous.


          1.        1.      Separately as to each AllegedClaimed Trade Secret, state whether or not

Waymo has proven that the following parts of its claim for misappropriation against Uber

Technologies, Inc. Answer “Yes” or “No.” To sustain such a claim as to any Alleged Trade

Secret, you must find Waymo has proven all of the elements in the three columns below, meaning

“Yes” in all three columns. If you answer “No” as to any column, then you need not consider and

need not answer as to the other columns for that particular Alleged Trade Secret, although you may

do so if you wish. You are free to consider the Alleged Trade Secrets and the columns in any

sequence or order you prefer.Claimed Trade Secret is an enforcible trade secret. Answer “Yes” or

“No.” In any answer, you must follow the instructions of law.




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                                                                    IMPROPERL         USED OR
                                     ENFORCIBLE TRADE                    Y           DISCLOSED?
                                         SECRET?                    ACQUIRED?
 ALLEGEDCLAIMED TRADE
 SECRET NO. 2
 ALLEGEDCLAIMED TRADE
 SECRET NO. 7
 ALLEGEDCLAIMED TRADE
 SECRET NO. 9
 ALLEGEDCLAIMED TRADE
 SECRET NO. 13
 ALLEGEDCLAIMED TRADE
 SECRET NO. 14
 ALLEGEDCLAIMED TRADE
 SECRET NO. 25
 ALLEGEDCLAIMED TRADE
 SECRET NO. 90
 ALLEGEDCLAIMED TRADE
 SECRET NO. 111

       If you have answered “No” in at least one column for all eight Alleged Trade Secrets, then

skip ahead to Question No. 5. Otherwise, meaning you have answered “Yes” as to all three

columns for at least one Alleged Trade Secret, continue to the next three questions.for all eight

Claimed Trade Secrets, then you are done — go to the end of the form and sign and date it.

Otherwise, meaning you have answered “Yes” for at least one Claimed Trade Secret, continue to

the next two questions.


       2.      Only with respect to any Alleged Trade Secret for which you answered “Yes” in all

three columns in the previous question, state whether or not Waymo has proven that Uber was

unjustly enriched and that such use or disclosure was a substantial factor in bringing about such

unjust enrichment. If you answer “Yes,” then further state the dollar amount by which Waymo has



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proven that Uber was unjustly enriched (or, if such amount is not calculable, then enter “Zero” in

the dollar amount column). If you answer “No,” then leave the dollar amount column blank:


       2.      Separately as to each Claimed Trade Secret, state whether or not Waymo has

proven that Uber improperly acquired the Claimed Trade Secret in question. Answer “Yes” or

“No.” In any answer, you must follow the instructions of law.


                                                       IMPROPERLY ACQUIRED?

                CLAIMED TRADE SECRET NO. 2

                CLAIMED TRADE SECRET NO. 7
                CLAIMED TRADE SECRET NO. 9

                CLAIMED TRADE SECRET NO. 13
                CLAIMED TRADE SECRET NO. 14
                CLAIMED TRADE SECRET NO. 25

                CLAIMED TRADE SECRET NO. 90
                CLAIMED TRADE SECRET NO. 111


       Continue to the next question.


       3.      Separately as to each Claimed Trade Secret, state whether or not Waymo has

proven that Uber used or disclosed the Claimed Trade Secret in question. Answer “Yes” or “No.”


                                                        USED OR DISCLOSED?

                CLAIMED TRADE SECRET NO. 2

                CLAIMED TRADE SECRET NO. 7
                CLAIMED TRADE SECRET NO. 9

                CLAIMED TRADE SECRET NO. 13



                                                3
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                CLAIMED TRADE SECRET NO. 14
                CLAIMED TRADE SECRET NO. 25

                CLAIMED TRADE SECRET NO. 90
                CLAIMED TRADE SECRET NO. 111


       If you have answered “No” for all eight Claimed Trade Secrets, then skip ahead to

Question No. 7. Otherwise, meaning you have answered “Yes” in Question No. 3 for at least one

Claimed Trade Secret, continue to the next three questions.


       4.      Only with respect to any Claimed Trade Secret for which you answered “Yes” in

the previous question, state whether or not Waymo has proven that Uber was unjustly enriched and

that such use or disclosure was a substantial factor in bringing about such unjust enrichment. If

you answer “Yes,” then further state the dollar amount by which Waymo has proven that Uber was

unjustly enriched (or, if such amount is not calculable, then enter “Zero” in the dollar amount

column). If you answer “No,” then leave the dollar amount column blank:


                                         UNJUST ENRICHMENT/                DOLLAR AMOUNT
                                         SUBSTANTIAL FACTOR?
ALLEGEDCLAIMED TRADE SECRET NO.
2
ALLEGEDCLAIMED TRADE SECRET NO.
7
ALLEGEDCLAIMED TRADE SECRET NO.
9
ALLEGEDCLAIMED TRADE SECRET NO.
13
ALLEGEDCLAIMED TRADE SECRET NO.
14
ALLEGEDCLAIMED TRADE SECRET NO.



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25
ALLEGEDCLAIMED TRADE SECRET NO.
90
ALLEGEDCLAIMED TRADE SECRET NO.
111

       Remember, as I said in the jury instructions, if you answer “Yes” and “Zero” as to any

Alleged Trade Secret, we may have supplemental proceedings as to that Alleged Trade Secret with

respect to an alternative form of award.


       5.      3.      If you entered dollar amounts greater than zero in two or more blanks in the

preceding question, then, in order to eliminate any possibility of double or multiple counting, state

the grand total of all such unjust enrichment to Uber without any double or multiple countings:


                                $___________________________


       6.      4.      Has Waymo proven that Uber acted willfully and maliciously with respect

to any misappropriation found by you? If “Yes,” state the dollar amount of any exemplary

damages you award.


                          YES                   NO                AMOUNT

                        _______              _______         $______________



                            *                    *                    *


       The next group of questions concerns Ottomotto LLC and parallels the questions above.


       5.




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       7.      Separately as to each AllegedClaimed Trade Secret, state whether or not Waymo

has proven the following parts of its claim for misappropriation against Ottomotto LLCthat

Ottomotto improperly acquired the Claimed Trade Secret in question. Answer “Yes” or “No.” To

sustain such a claim as to any Alleged Trade Secret, you must find Waymo has proven all of the

elements in the three columns below, meaning “Yes” in all three columns. If you answer “No” as

to any column, then you need not consider and need not answer as to the other columns for that

particular Alleged Trade Secret, although you may do so if you wish. You are free to consider the

Alleged Trade Secrets and the columns in any sequence or order you prefer. In any answer, you

must follow the instructions of law for that issue.

                                   ENFORCIBLE         IMPROPERLY ACQUIRED?          USED OR
                                     TRADE                                         DISCLOSED?
                                    SECRET?
 ALLEGEDCLAIMED TRADE
 SECRET NO. 2
 ALLEGEDCLAIMED TRADE
 SECRET NO. 7
 ALLEGEDCLAIMED TRADE
 SECRET NO. 9
 ALLEGEDCLAIMED TRADE
 SECRET NO. 13
 ALLEGEDCLAIMED TRADE
 SECRET NO. 14
 ALLEGEDCLAIMED TRADE
 SECRET NO. 25
 ALLEGEDCLAIMED TRADE
 SECRET NO. 90
 ALLEGEDCLAIMED TRADE
 SECRET NO. 111


       Continue to the next question.



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         8.     Separately as to each Claimed Trade Secret, state whether or not Waymo has

proven that Ottomotto used or disclosed the Claimed Trade Secret in question. Answer “Yes” or

“No.”


                                                         USED OR DISCLOSED?

                 CLAIMED TRADE SECRET NO. 2

                 CLAIMED TRADE SECRET NO. 7
                 CLAIMED TRADE SECRET NO. 9

                 CLAIMED TRADE SECRET NO. 13
                 CLAIMED TRADE SECRET NO. 14
                 CLAIMED TRADE SECRET NO. 25

                 CLAIMED TRADE SECRET NO. 90
                 CLAIMED TRADE SECRET NO. 111



         If you have answered “No” in at least one column for all eight AllegedClaimed Trade

Secrets in the previous question, then you are done — go to the end of the form and sign and date

it. Otherwise, meaning you have answered “Yes” as to all three columns for at least one

AllegedClaimed Trade Secret, continue to the next three questions.


         9.     6.     Only with respect to any AllegedClaimed Trade Secret for which you

answered “Yes” in all three columns in the previous question, state whether or not Waymo has

proven that Ottomotto was unjustly enriched and that such use or disclosure was a substantial

factor in bringing about such unjust enrichment. If you answer “Yes,” then further state the dollar

amount by which Waymo has proven that Ottomotto was unjustly enriched (or, if such amount is




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not calculable, then enter “Zero” in the dollar amount column). If you answer “No,” then leave the

dollar amount column blank:


                                           UNJUST ENRICHMENT/                DOLLAR AMOUNT
                                           SUBSTANTIAL FACTOR?
ALLEGEDCLAIMED TRADE SECRET NO.
2
ALLEGEDCLAIMED TRADE SECRET NO.
7
ALLEGEDCLAIMED TRADE SECRET NO.
9
ALLEGEDCLAIMED TRADE SECRET NO.
13
ALLEGEDCLAIMED TRADE SECRET NO.
14
ALLEGEDCLAIMED TRADE SECRET NO.
25
ALLEGEDCLAIMED TRADE SECRET NO.
90
ALLEGEDCLAIMED TRADE SECRET NO.
111

       Remember, as I said in the jury instructions, if you answer “Yes” and “Zero” as to any

Alleged Trade Secret, we may have supplemental proceedings as to that Alleged Trade Secret with

respect to an alternative form of award.


       10.     7.      If you entered a dollar amount greater than zero in two or more blanks in the

preceding question, then, in order to eliminate any possibility of double or multiple counting, state

the grand total of all such unjust enrichment to Ottomotto without any double or multiple

countings:


                                  $________________________


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       11.    8.      Has Waymo proven that Ottomotto acted willfully and maliciously with

respect to any misappropriation found by you? If “Yes,” state the dollar amount of any exemplary

damages you award.


                         YES                  NO               AMOUNT

                       _______             _______        $______________



                           *                   *                   *


       Your answer to all of the foregoing questions must be unanimous.




Dated: February ___, 2018.
                                                       FOREPERSON




                                               9
